                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN
                              (MILWAUKEE DIVISION)


NANCY DEWEY, individually and as trustee
for THE NANCY DEWEY LIVING TRUST,
THE NANCY DEWEY 2015 NEA GRANTOR RETAINED
ANNUITY TRUST, THE NANCY DEWEY 2015 P&D
GRANTOR RETAINED ANNUITY TRUST, THE
IRREVOCABLE TRUST FOR THE GRANDCHILDREN
OF NANCY AND DOUGLAS DEWEY, and
JOHN DEWEY individually and as trustee for
THE JOHN D. DEWEY LIVING TRUST,            Case No. _____________
THE JOHN D. DEWEY IRREVOCABLE
CHILDREN’S TRUST, THE ABIGAIL
DEWEY IRREVOCABLE TRUST, THE ERIN
DEWEY IRREVOCABLE TRUST,
THE IAN DEWEY IRREVOCABLE TRUST,
THE SHEAMUS DEWEY IRREVOCABLE TRUST,
THE ABIGAIL DEWEY DESCENDANT’S TRUST,
THE ERIN DEWEY DESCENDANT’S TRUST,
THE IAN DEWEY DESCENDANT’S TRUST,
THE SEPARATE TRUSTS FOR IAN DEWEY,
SHEAMUS DEWEY, ERIN DEWEY AND ABIGAIL DEWEY, and
THE SHEAMUS DEWEY DESCENDANT’S TRUST,

                            Plaintiffs,

v.

KURT BECHTHOLD, MARK FILMANOWICZ, DAVID BECHTHOLD,
JOHN G. SORENSON, PAYNE & DOLAN, INC., NORTHEAST ASPHALT,
INC., CONSTRUCTION RESOURCES MANAGEMENT, INC., ZENITH TECH,
INC., and TIMBERSTONE OF RICHFIELD, INC.,

                            Defendants.


      PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR APPOINTMENT OF
     RECEIVER OR, ALTERNATIVELY, AN ORDER TO PERMIT INSPECTION AND
       COPYING OF THE DEFENDANT COMPANIES’ ACCOUNTING RECORDS


To:     The above-named defendants.




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                                    NOTICE OF MOTION

               PLEASE TAKE NOTICE that the above-named Plaintiffs, by and through their

attorneys, Kravit, Hovel & Krawczyk, s.c. and Gibson Dunn & Crutcher, LLP, and pursuant to

Federal Rule of Civil Procedure 66, Wis. Stat. §§ 180.1601 – 180.1604, and the Court’s inherent

authority, will move for an order appointing a limited receiver for the purpose of: (1) conducting

a forensic accounting of the accounting records of Defendants Payne & Dolan, Inc. (“P&D”),

Northeast Asphalt, Inc. (“NEA”), Construction Resources Management, Inc. (“CRM”), Zenith

Tech, Inc. (“Zenith Tech”), and Timberstone of Richfield, Inc. (“Timberstone;” together with

P&D, NEA, CRM, and Zenith Tech, the “Companies”); (2) identifying any and all assets and

interests owned by the Companies, including those assets and interests that are not included in

the Companies’ accounting records; (3) determining whether the Companies engaged in

improper transactions and/or whether the Companies’ assets or opportunities have been used to

purchase, establish, or support operations and/or businesses outside the ownership of Plaintiffs;

and (4) determining the book value and fair market value of Plaintiffs’ minority shareholder

interests in the Companies. Alternatively, Plaintiffs will move the Court for an order pursuant to

Wis. Stat. § 180.1604 to permit inspection and copying of the Companies’ accounting records

and awarding Plaintiffs’ costs and expenses, including reasonable attorney fees, incurred in

obtaining the order.

               This Motion shall be heard at a date and time to be set by the Court, in the

courtroom usually occupied by the Court at the United States Federal Courthouse for the Eastern

District of Wisconsin, Milwaukee Division, located at 517 East Wisconsin Avenue, Milwaukee,

Wisconsin 53202.




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                                            MOTION

               Plaintiffs, by and through their attorneys, Kravit, Hovel & Krawczyk, s.c. and

Gibson Dunn & Crutcher, LLP, and pursuant to Federal Rule of Civil Procedure 66, Wis. Stat.

§§ 180.1601 – 180.1604, and the Court’s inherent authority, move for an order appointing a

limited receiver for the purpose of: (1) conducting a forensic accounting of the Companies’

accounting records; (2) identifying any and all assets and interests owned by the Companies,

including those assets and interests that are not included in the Companies’ accounting records;

(3) determining whether the Companies engaged in improper transactions and/or whether the

Companies’ assets or opportunities have been used to purchase, establish, or support operations

and/or businesses outside the ownership of Plaintiffs; and (4) determining the book value and fair

market value of Plaintiffs’ minority shareholder interests in the Companies. Alternatively,

Plaintiffs move the Court for an order pursuant to Wis. Stat. § 180.1604 to permit inspection and

copying of the Companies’ accounting records and awarding Plaintiffs’ costs and expenses,

including reasonable attorney fees, incurred in obtaining the order.

               The reasons and grounds for this Motion are set forth in detail in the

Memorandum and Declarations submitted herewith.

Dated: November 1, 2018                                 Respectfully submitted,

                                                        /s/ Stephen E. Kravit_______
Brian M. Lutz (admission pending)                       Stephen E. Kravit
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